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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL

 Case No.        CV 20-04503-CJC (KSx)                               Date        September 18, 2020
 Title          Ana M. Hanson et al v. Pre Con Industries Inc et al




 Present: The Honorable         CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE
                    Cheryl Wynn                                            None Present
                    Deputy Clerk                                           Court Reporter
           Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                    None Present                                           None Present


 Proceedings:             (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR
                          LACK OF PROSECUTION

       It is a plaintiff's responsibility to prosecute its case diligently. That includes, where
applicable, promptly pursuing Rule 55 remedies upon the default of any defendant.

       Here, Plaintiff has obtained default against Defendant(s), but has taken no further
action. Accordingly, the Court, on its own motion, hereby ORDERS Plaintiff to show cause in
writing no later than September 23, 2020, why this action should not be dismissed for lack of
prosecution. As an alternative to a written response by Plaintiff, the Court will consider as an
appropriate response to this OSC the filing of one of the following on or before the above date:

         1. A Motion for Default Judgment (Fed. R. Civ. P. 55(b)) as to all remaining
            Defendants, or

         2. A Notice of Voluntary Dismissal (Fed. R. Civ. P. 41) as to all remaining Defendants.

        No oral argument of this matter will be heard unless ordered by the Court. The Order
will stand submitted upon the filing of a timely and appropriate response. Failure to file a
timely and appropriate response to this Order may result in dismissal.

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                                                       Initial of Deputy                  cw
                                                       Clerk




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